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26                       IN THE UNITED STATES DISTRICT COURT

27                               FOR THE DISTRICT OF ALASKA

     JANE DOE I, JANE DOE II, JANE DOE
     III, JANE DOE IV, JANE DOE V, AND
     DOES 6-20
                                               CASE NO. 3:19-cv-00136-HRH
                   Plaintiffs,

     v.

     DAVID YESNER, UNIVERSITY OF
     ALASKA BOARD OF REGENTS AND
     UNIVERSITY OF ALASKA SYSTEM,
                   Defendants.
28




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1         PLAINTIFFS’ RESPONSE TO DEFENDANT YESNER’S MOTION TO
2         PRECLUDE USE OF “JANE DOE” PSEUDONYMS AND PLAINTIFFS’
3          MEMORANDUM OF LAW IN SUPPORT OF PROCEEDING UNDER
4                              PSEUDONYMS
5
6           Plaintiffs file this Response to Defendant David Yesner’s Motion to Preclude Use

7    of “Jane Doe” Pseudonyms and Plaintiffs’ Memorandum of Law in Support of Proceeding

8    Under Pseudonyms. This motion by Yesner is nothing more than an intimidation and delay

9    tactic to further humiliate, embarrass and traumatize Plaintiffs more than they have already

10   endured at this point. It is worth noting that Defendants University of Alaska Board of

11   Regents and University of Alaska System have not challenged Plaintiffs’ use of

12   pseudonyms in this case.

13           Given the highly sensitive and personal nature of their allegations, this Court should

14   permit the Plaintiffs to protect their true identities from public disclosure at this time; lest

15   their efforts to seek redress for the sexual misconduct and harassment they have already

16   experienced give rise to further harm to their mental health, their reputations and their

17   careers.

18                                       STATEMENT OF FACTS

19          This action arises from Defendant University of Alaska’s deliberately indifferent

20   response to the severe and long running sexual harassment of graduate students by

21   University of Alaska’s professor and supervisor, Defendant David Yesner. Defendant

22   University of Alaska’s failure to promptly and appropriately investigate and respond to the

23   harassment subjected Plaintiffs to retaliation and a hostile environment, effectively

24   denying them access to educational and professional opportunities. Further, Defendant


                                                                                             2

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1    University of Alaska’s employee, Defendant Yesner retaliated against Plaintiffs for

2    denying Defendant Yesner’s sexual advances, which Defendant University of Alaska

3    failed to prevent or take action against even after the Plaintiffs complained of Defendant

4    Yesner’s behavior and notified Defendant University of Alaska, once the actions had

5    started. This malicious and intentional conduct has subjected Plaintiffs to significant and

6    pervasive reputational damage and emotional distress, destroying their careers and causing

7    significant damage to their mental health. Their lives have been forever changed by

8    Defendants’ actions.

9                                        LEGAL ARGUMENT

10          The Ninth Circuit has held that “a party may preserve his or her anonymity in

11   judicial proceedings in special circumstances when the party’s need for anonymity

12   outweighs prejudice to the opposing party and the public’s interest in knowing the party’s

13   identity.” Roes 1-2 v. SFBSC Mgmt., LLC, 77 F. Supp. 3d 990, 993 (N.D. Cal. 2015). The

14   Ninth Circuit has recognized that courts grant anonymity where it is needed to preserve

15   privacy in a matter of sensitive and highly personal nature. Id. at 994. Consequently, the

16   Ninth Circuit allows parties to use pseudonyms where this is “necessary” to protect a

17   person from ridicule or personal embarrassment. Id. A district court must balance the need

18   for anonymity against the general presumption that parties’ identities are public

19   information and the risk of unfairness to the opposing party. Id. Applying this balancing

20   test, courts have permitted plaintiffs to use pseudonyms in three situations: (1) when

21   identification creates a risk of retaliatory physical or mental harm; (2) when anonymity is

22   necessary to preserve privacy in a matter of sensitive and highly personal nature; and (3)

                                                                                        3

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1    when the anonymous party is compelled to admit his or her intention to engage in illegal

2    conduct, thereby risking criminal prosecution. Id. The Ninth Circuit further holds that

3    if pseudonyms are necessary to shield a party from retaliation, the following factors should

4    be evaluated to determine the need for anonymity: (1) the severity of the threatened harm;

5    (2) the reasonableness of the anonymous party’s fears; and (3) the anonymous party’s

6    vulnerability to such retaliation. Id. at 995.

7           Here, all relevant factors strongly favor permitting the Jane Does to proceed under

8    pseudonyms.

 9   A.     Plaintiffs’ case involves matters of a highly sensitive and personal nature and
10          anonymity is necessary to preserve privacy and safety from future harm.
11
12          Courts have often allowed parties to use pseudonyms when a case involves topics

13   in the “sensitive and highly personal” area of human sexuality. Id. at 994. When a case

14   requires a plaintiff to disclose information of such utmost intimacy, courts weigh this

15   strongly in favor of allowing a plaintiff to proceed under pseudonym. See Doe v. Cabrera,

16   307 F.R.D. 1, 5–6 (D.D.C. 2014) (“Because of the alleged sexual acts of defendant . . . this

17   case is one of a sensitive and highly personal nature for the plaintiff.”)(internal quotation

18   marks omitted); cf. Doe v. Trustees of Dartmouth Coll. (“Dartmouth I”), No. 18-CV-040-

19   LM, 2018 WL 2048385 at *5 (“Undoubtedly, one’s sexual practices are among the most

20   intimate parts of one’s life…”)(internal quotation marks omitted). Defendant states that

21   this case is not one of a highly sensitive or personal nature but then does not elaborate as

22   to why that is his belief or provide this Court with any evidence to support his argument.

23   It is because Defendant knows that this case is one of very highly and sensitive nature


                                                                                          4

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1    involving sexual harassment and sexual misconduct by Defendant. Sexual harassment and

2    sexual misconduct deal with the most intimate parts of a person’s life. Defendant Yesner

3    inappropriately touched Plaintiffs’ breasts, hips and buttocks and made sexually suggestive

4    comments which have already caused severe personal embarrassment to Plaintiffs. Sexual

5    harassment and sexual misconduct involve some of the most highly personal and sensitive

6    matters. Plaintiffs were violated physically and mentally with lewd, sexually suggestive

7    comments, nonconsensual and inappropriate touching, and threatening behavior. To say

8    otherwise is quite puzzling and insulting.

9           The case of Doe v. Kamehameha, 596 P. 3d 1036 (2010) to which Defendant cites

10   to make his point does not involve matters of human sexuality.

11          Defendant points to the fact that Jane Doe II mentioned in her email to the

12   Chancellor in December 2017 that she does not shy away from the fact of speaking about

13   her experience publicly. However, speaking about your experience publicly is very

14   different than litigating a lawsuit which has significant consequences and ramifications.

15   They are not the same thing at all and comparing the two is misleading.

16          Defendant also argues that Jane Doe III and Jane Doe IV said they were available

17   to meet in person after sending their letter to the Chancellor as an argument by Defendant

18   for this Court to reveal Plaintiffs’ identities. This argument is a confusing one. Meeting

19   with someone privately to discuss one’s experiences in a closed-door setting is very

20   different than going public with the matters in a lawsuit. By writing that letter to the

21   Chancellor, Plaintiffs were hoping to meet with him in person in the privacy of an office.

22   They were not speaking to the press.

                                                                                        5

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1           On the note of media, Plaintiffs have made conscious efforts to avoid spotlight of

2    any kind and have taken painstaking steps to remain private throughout this litigation.

3    Plaintiffs have not publicly revealed their identities or otherwise sought publicity or media

4    attention in this matter. Moreover, their participation in University of Alaska’s Title IX

5    investigations was confidential.

6           Plaintiffs rightly fear retaliation. Involvement in sexual misconduct allegations

7    implicates serious concerns about reputational harm and harassment that are only

8    exacerbated in the Internet age. Id. at *5-6. Additionally, Plaintiffs have already stated in

9    their Complaint that Yesner would retaliate against them when they rejected his sexual

10   advances. And many Plaintiffs and other women have stated that they feared speaking out

11   for a long time because Yesner held a lot of power and sway in the Anthropology

12   community and their statements could affect their career opportunities in the field.

13   Plaintiffs have stated that Yesner is an extremely vindictive individual who can make one’s

14   life a living nightmare.

15          Plaintiffs have already received disturbing threats and backlash for filing this

16   lawsuit. One Plaintiff even considered filing a police report as the threats have become

17   increasingly worse and worse. One Plaintiff received hate mail at her house. Plaintiffs have

18   also received significant backlash online. Courts have recognized that internet technology

19   “can provide additional channels for harassment and will connect [a] plaintiff’s name to

20   [sexual misconduct allegations] forever, whether or not he is successful in . . . litigation.”

21   Id. at *5.

22          For the reasons set forth above, Defendant’s Motion should be denied.

                                                                                           6

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1           1. Social stigmatization.

2           It is well known to the parties and to this Court that victims of sexual harassment

3    and sexual abuse face some of the worst forms of social stigmatization in our society,

4    causing victims’ severe trauma and distress often leading to suicidal thoughts and major

5    depression. Many of the Plaintiffs suffer from major depression, anxiety, panic attacks,

6    loss of self-esteem and will continue to struggle with depression and anxiety for the rest of

7    their lives due to Yesner’s actions. The majority of Plaintiffs are currently seeking therapy

8    and counseling and have sought counseling in the past. Women are not believed when they

9    come forward with sexual harassment and are often blamed for causing the behavior. Many

10   victims are shunned by their families and friends and alienated from communities.

11   Employment opportunities are also affected by the social stigmatization that comes with

12   sexual harassment as employers wrongly fear that the victims will become a “problem” for

13   the company by speaking out and difficult to control. The victims often blame themselves

14   for the sexual harassment causing many women to refrain from coming forward in the first

15   place. The Ninth Circuit has found social stigmatization to be an important factor in

16   deciding whether to allow plaintiffs to proceed anonymously.

17          A plaintiff should be permitted to proceed anonymously in cases where a substantial
18          privacy interest is involved. The most compelling situations involve matters which
19          are highly sensitive, such as social stigmatization. The United States District Court
20          for the Northern District of California has thus considered “social stigmatization”
21          among the most compelling reasons for permitting anonymity. This is consistent
22          with the Ninth Circuit’s instruction that anonymity is permitted where the subject
23          matter of a case is sensitive and highly personal, and where disclosing a party’s
24          identity threatens to subject them to harassment, ridicule, or personal
25          embarrassment.
26
27   Roes 1-2 v. SFBSC Mgmt., LLC, 77 F. Supp. 3d 990, 994 (N.D. Cal. 2015).

                                                                                          7

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1           The filing of this motion by Defendant has already caused anxiety and panic for

2    Plaintiffs due to the terror of being publicly identified. The thought of intimate details

3    regarding Plaintiffs’ sexual history and emotional state being revealed to coworkers,

4    friends, family, and the media fill Plaintiffs with great fear and dread. Plaintiffs fear that

5    being publicly identified will have significant negative consequences for these individuals

6    and their relationships to them. Their fears are only magnified by the fact that bloggers and

7    social media users will probably engage in hateful comments and discussions regarding

8    Plaintiffs’ claims. Plaintiffs will suffer severe emotional distress and an overall worsening

9    of their physical and psychological health if forced to reveal their identities at this point.

10          Plaintiffs would face social stigmatization if their names were revealed and so it is

11   vital that they be able to remain anonymous. Defendant’s Motion should be denied.

12   B.     Defendant will suffer no prejudice.

13          Moreover, allowing Plaintiffs to proceed under pseudonyms will not prejudice

14   Defendant Yesner in any way. Yesner is already aware of Plaintiffs’ identities. See Doe v.

15   United Servs. Life Ins. Co., 123 F.R.D. 437, 439 (S.D.N.Y. 1988) (anonymity allowed

16   because of sensitive privacy and retaliation concerns; no unfairness to defendant who was

17   aware of claimant’s true identity). Whatever knowledge a defendant has of a plaintiff’s

18   identity lessens the defendant’s claim of being prejudiced by the use of a pseudonym. Roes

19   1-2, 77 F.Supp. 3d at 995. He will suffer no prejudice because he may be permitted to use

20   Plaintiffs’ names in discovery under the terms of a protective order that the Court can

21   fashion to ensure Defendant is prejudiced in no way in his ability to defend the case.

22   Accordingly, this motion is not sought “to impair defendant’s ability to defend [itself], to

                                                                                            8

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1    delay the litigation or to increase the costs to defendant.” Doe v. Provident Life & Accident

2    Ins. Co., 176 F.R.D. 464, 469 (E.D. Pa. 1997). For purposes of allowing plaintiffs to use

3    pseudonyms, the Ninth Circuit has alluded to a court’s powers to manage pretrial

4    proceedings, to shape discovery, and avoid impediments that anonymity might raise. Roes

5    1-2, 77 F. Supp. 3d at 996. This might include, for example, issuing limited protective

6    orders allowing the plaintiffs’ names to be revealed to significant third parties, in a way

7    that protects the plaintiffs’ interests sufficiently, without prejudicing the opposing party’s

8    ability to litigate the case. Id.

9           As Defendant will not be prejudiced in any way, this Court should deny Defendant’s

10   Motion. The only parties who would be prejudiced, if anyone, are the Jane Does in this

11   case by having their identities revealed.

12   C. Plaintiffs’ need for anonymity outweighs the public’s interest in knowing their
13   identities.
14
15          Courts, including The Ninth Circuit, have routinely found that plaintiffs’ need for

16   anonymity in cases of highly and personal nature such as human sexuality, sexual

17   harassment and sexual abuse outweigh the public interest in knowing their identities. Roes

18   1-2 v. SFBSC Mgmt., LLC, 77 F. Supp. 3d 990, 997 (N.D. Cal. 2015) (“the plaintiffs’

19   interest in safeguarding their personal well-being outweighs the public’s interest in

20   knowing the plaintiffs’ identities”); EEOC v. ABM Indus., 249 F.R.D. 588, 595 (E.D. Cal.

21   2008)(“Plaintiffs’ need for anonymity outweighs the public’s interest in knowing their

22   identities.”); Doe v. Frank, 951 F.2d 320, 323 (11th Cir. 1992); Doe v. Stegall, 653 F.2d

23   180, 186 (5th Cir. Unit A Aug. 1981).


                                                                                           9

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1           Chief Judge Mark E. Walker of the United States Northern District of Florida in

2    S.B. v. Florida Agricultural and Mechanical University Board of Trustees, No. 16-CV-

3    00613-MW (N.D. Florida March 27, 2019)(case involving sexual assault and sexual

4    harassment at a university) recently granted Plaintiff’s motion to proceed anonymously and

5    recently denied for the second time Defendant’s attempt to reveal the Plaintiff’s identity in

6    March 2019, finding that “outing an alleged…victim simply because other parties or

7    individuals involved in the lawsuit are not proceeding anonymously serves no legitimate

8    public interest” and that Plaintiff has a “substantial privacy right which outweighs the

9    customary and constitutionally-embedded presumption of openness in judicial

10   proceedings.” Doe v. Frank, 951 F.2d 320, 323 (11th Cir. 1992) (quoting Doe v. Stegall,

11   653 F.2d 180, 186 (5th Cir. Unit A Aug. 1981)). Anonymity is a common protection in

12   sexual assault and sexual harassment cases and should be afforded here.

13          The public would have an interest in seeing the case move forward and seeing

14   Plaintiffs continue to litigate the case. Plaintiffs have taken comfort in the fact that this

15   Court could allow them to join the lawsuit using a pseudonym. Plaintiffs would not have

16   filed suit if they had to reveal their identities and would not have brought forth their claims.

17   Furthermore, forcing Plaintiffs to reveal their identities to the public would create a chilling

18   effect on future survivors who want to litigate sexual harassment cases.

19          The public has an interest in the Plaintiffs’ wellbeing and safety and not subjecting

20   them to retaliation and harm. Facing public identification will interfere with Plaintiffs’

21   emotional and physical well-being and interfere with their ability to process, cope with,



                                                                                            10

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1    and recover from their experiences with Yesner at University of Alaska. Plaintiffs have

2    been through enough at this stage.

3          The strongest public interest lies in preventing the stigmatization of victims of

4    sexual misconduct and allowing victims of sexual misconduct to vindicate their rights. See

5    Doe v. Oshrin, 299 F.R.D. 100, 104 (D.N.J. 2014); Doe No. 2 v. Kolko, 242 F.R.D. 193,

6    195–96 (E.D.N.Y. 2006). This Court should consequently deny Defendant’s Motion to

7    Preclude Use of “Jane Doe” Pseudonyms and allow Plaintiffs to continue to proceed

8    anonymously in this case so that they may seek to redress the harm they have already

9    experienced without incurring further injury.

10         DATED: July 12, 2019.

11


12                                                   Respectfully submitted,
13
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13                                                     ATTORNEYS FOR PLAINTIFFS
14
15
16
17
18
19                                    CERTIFICATE OF SERVICE
20
21          I hereby certify that on July 12, 2019 I filed a true and correct copy of the foregoing
22   document with the Clerk of the Court for the United States District Court – District of
23   Alaska by using the CM/ECF system. Participants in Case No. 3:19-cv-00136-HRH who
24   are registered CM/ECF users will be served by the CM/ECF system.
25
26                                                     /s/ Cornelia Brandfield-Harvey
27                                                     Cornelia Brandfield-Harvey
28


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